Case 4:15-cv-00229-ALM Document 12 Filed 11/05/15 Page 1 of 1 PageID #: 119



                 IN THE UNITED STATES DISTRICT COURT FOR THE
                          EASTERN DISTRICT OF TEXAS
                              SHERMAN DIVISION

    DEANA BOSBYSHELL,                             §
                                                  §
           Plaintiff,                             §
                                                  §
    vs.                                           §                CIVIL NO. 4:15-cv-00229
                                                  §
    GENERAL INSURANCE COMPANY                     §
    OF AMERICA,                                   §
                                                  §
           Defendant.                             §

                   ORDER ON PARTIES’ STIPULATION OF DISMISSAL

           This Court has considered the Stipulation of Dismissal (the “Stipulation”) filed by

    Deana Bosbyshell (Plaintiff) and General Insurance Company of Indiana (“Defendant”)

    (collectively, the “Parties”) in the above-entitled case. After considering the Stipulation,

    the pleadings and papers on file, and the arguments of counsel, it is therefore ORDERED

    that Plaintiff’s claims against Defendant are hereby DISMISSED, without prejudice.
.
           All relief not previously granted is hereby denied.

           The Clerk is directed to CLOSE this civil action.

            IT IS SO ORDERED.

            SIGNED this 5th day of November, 2015.




                                           ___________________________________
                                           AMOS L. MAZZANT
                                           UNITED STATES DISTRICT JUDGE




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    ORDER ON PARTIES’ STIPULATION OF DISMISSAL                                       Page 1
